Case 4:20-cv-00957-SDJ   Document 746-5 Filed 12/30/24   Page 1 of 8 PageID #:
                                   48340




                    EXHIBIT 125
Case 4:20-cv-00957-SDJ   Document 746-5 Filed 12/30/24   Page 2 of 8 PageID #:
                                   48341




                              In the Matter Of:

                                     USA v
                                     GOOGLE




                              CHRIS LASALA
                               August 17, 2023




                            LEXITAS™
Case 4:20-cv-00957-SDJ         Document 746-5 Filed 12/30/24   Page 3 of 8 PageID #:
     USA v                               48342                            Chris LaSala
     GOOGLE                            Highly Confidential             August 17, 2023

                                                                              419
·1

·2· ·UNITED STATES DISTRICT COURT
· · ·FOR THE EASTERN DISTRICT OF VIRGINIA
·3· ·------------------------------------------X
· · ·UNITED STATES OF AMERICA, et al.,
·4
· · · · · · · · · · · · · · · ·PLAINTIFF,
·5
· · · · · · ·-against-
·6
· · ·GOOGLE LLC,
·7
· · · · · · · · · · · · · · · ·DEFENDANT.
·8
· · ·Civil 1:23-cv-00108
·9· ·------------------------------------------X

10· ·UNITED STATES DISTRICT COURT
· · ·SOUTHERN DISTRICT OF NEW YORK
11· ·------------------------------------------X
· · ·In Re: Google Digital Advertising Antitrust
12· ·Litigation

13
· · ·1:21-MD-3010 (S.D.N.Y.)
14
· · ·------------------------------------------X
15· · · · · ·***HIGHLY CONFIDENTIAL***

16· · · · · ·VOLUME II

17
· · · · · · ·DEPOSITION OF CHRIS LASALA
18· · · · · · · ·Trumbull, Connecticut

19· · · · · ·Thursday, August 17, 2023

20

21

22· ·Reported by:

23· ·Rebecca Schaumloffel, RPR, CLR

24· ·JOB #:· 2023-906734

25· ·TIME:· 7:03 a.m. Eastern


     www.LexitasLegal.com/Premier           Lexitas             888-267-1200 Page 419
Case 4:20-cv-00957-SDJ         Document 746-5 Filed 12/30/24   Page 4 of 8 PageID #:
     USA v                               48343                            Chris LaSala
     GOOGLE                            Highly Confidential             August 17, 2023

                                                                              420
·1

·2· ·A P P E A R A N C E S:

·3

·4· · · U.S. DEPARTMENT OF JUSTICE
· · · · · · ·Antitrust Division
·5· · · · · ·950 Pennsylvania Avenue
· · · · · · ·Washington, DC 20530
·6· · · · · ·BY:· DAVID TESLICKO, ESQ.
· · · · · · · · · JULIA WOOD, ESQ., (Zoom)
·7

·8

·9
· · · · AXINN, VELTROP & HARKRIDER, LLP
10· · · · · ·Attorneys for Google
· · · · · · ·1901 L Street NW
11· · · · · ·Washington, DC 20036
· · · · · · ·BY:· DANIEL BITTON, ESQ.
12· · · · · · · · DAVID PEARL, ESQ.

13

14

15
· · · · PAUL WEISS, RIFKIND, WHARTON & GARRISON,
16· · · LLP
· · · · · · ·Attorneys for Google
17· · · · · ·2001 K Street NW
· · · · · · ·Washington, DC 20006
18· · · · · ·BY:· JOSEPH BIAL, ESQ.

19

20

21
· · · · BERGER MONTAGUE
22· · · · · ·Attorneys for Publisher Class
· · · · · · ·1818 Market Street, Suite 3600
23· · · · · ·Philadelphia, Pennsylvania 19103
· · · · · · ·BY:· PATRICK F. MADDEN, ESQ.
24

25


     www.LexitasLegal.com/Premier           Lexitas             888-267-1200 Page 420
Case 4:20-cv-00957-SDJ         Document 746-5 Filed 12/30/24   Page 5 of 8 PageID #:
     USA v                               48344                            Chris LaSala
     GOOGLE                            Highly Confidential             August 17, 2023

                                                                              421
·1

·2
· · ·Appearances (continued:)
·3

·4
· · · · AHDOOT WOLFSON
·5· · · · · ·Attorneys for Advertiser Class
· · · · · · ·2600 W. Olive Avenue
·6· · · · · ·Burbank, California 91505
· · · · · · ·BY:· THEODORE W. MAYA, ESQ.
·7

·8

·9· · · KOREIN TILLERY
· · · · · · ·Attorneys for Publisher Class
10· · · · · ·505 North 7th Street
· · · · · · ·Suite 3600
11· · · · · ·St. Louis, Missouri 63101
· · · · · · ·BY:· ANDREW ELLIS, ESQ.
12

13

14· · · ALSO PRESENT:

15
· · · · · · · Alex Bergersen, Esq., in-house,
16· · · · · · Google
· · · · · · · Lem Lattimer, Lexitas videographer
17

18
· · · · · · · ZOOM PARTICIPANTS:
19
· · · · · · · Deane Carstensen, Lexitas
20· · · · · · Abhihek Mukund, Esq., Connecticut
· · · · · · · Attorney General
21· · · · · · Jonathan Wilkerson
· · · · · · · Zeke DeRose III, Esq., Lanier Law
22· · · · · · Firm
· · · · · · · Cuong Pham
23

24
· · · · · · ·*· · · · · ·*· · · · · *
25


     www.LexitasLegal.com/Premier           Lexitas             888-267-1200 Page 421
                                                                                        YVer1f
Case 4:20-cv-00957-SDJ       Document 746-5 Filed 12/30/24   Page 6 of 8 PageID #:
   USA v                               48345                            Chris LaSala
   GOOGLE                            Highly Confidential             August 17, 2023

                                                                            482
·1· · · · · · · · · · ·C. LASALA

·2· ·value of offering a platform needs to be

·3· ·measured in terms of lift and added value

·4· ·over a hypothetical Buyside only offering.

·5· ·While a conclusive study to measure this

·6· ·precisely is very difficult to do (partners

·7· ·mostly use only one platform at a time.

·8· ·Platform deals are often intertwined with

·9· ·inventory access deals making true

10· ·counterfactual studies very difficult, etc),

11· ·we do have a lot of evidence of value this

12· ·has added for us over the years."

13· · · · · · · Do you see that?

14· · · · A.· · I do.

15· · · · Q.· · Is Google Ad Manager a platform as

16· ·that term is used here?

17· · · · A.· · We use that phrase "platform" for

18· ·Ad Manager.

19· · · · Q.· · And so publishers using Google Ad

20· ·Manager will mostly only use Google Ad

21· ·Manager, right?

22· · · · · · · MR. BITTON:· Objection to form.

23· · · · Lacks foundation.

24· · · · A.· · Repeat the question, please.

25· · · · Q.· · So publishers using Google Ad


   www.LexitasLegal.com/Premier           Lexitas             888-267-1200 Page 482
                                                                                      YVer1f
Case 4:20-cv-00957-SDJ       Document 746-5 Filed 12/30/24   Page 7 of 8 PageID #:
   USA v                               48346                            Chris LaSala
   GOOGLE                            Highly Confidential             August 17, 2023

                                                                            483
·1· · · · · · · · · · ·C. LASALA

·2· ·Manager will mostly only use Google Ad

·3· ·Manager, right?

·4· · · · · · · MR. BITTON:· Objection to form.

·5· · · · A.· · I think it is most common for a

·6· ·publisher to implement a single ad server,

·7· ·whether it's Google's or someone else.· There

·8· ·are small instances where they would do both.

·9· · · · Q.· · And Google Ad Manager is an

10· ·example of where the platform deal is

11· ·intertwined with inventory access; is that

12· ·fair?

13· · · · · · · MR. BITTON:· Objection to form.

14· · · · A.· · So, you know, just reacting to the

15· ·statement, what that means is we would -- it

16· ·is possible to have closed or negotiated a

17· ·deal with a publisher to have used our

18· ·platform the way we're talking about it, so

19· ·the ad server, but that, by no means,

20· ·requires the publisher to then call AdX

21· ·demand as part of the negotiated deal to run

22· ·the ad server.

23· · · · · · · So they would be different

24· ·discussions.· So like the word "intertwined"

25· ·is not something I agree with because we


   www.LexitasLegal.com/Premier           Lexitas             888-267-1200 Page 483
                                                                                      YVer1f
Case 4:20-cv-00957-SDJ         Document 746-5 Filed 12/30/24   Page 8 of 8 PageID #:
     USA v                               48347                            Chris LaSala
     GOOGLE                            Highly Confidential             August 17, 2023

                                                                              666
·1

·2· · · ·C E R T I F I C A T E

·3

·4· ·STATE OF NEW YORK· · · )
· · · · · · · · · · · :· SS.:
·5· ·COUNTY OF NASSAU· · · ·)

·6

·7· · · · · ·I, REBECCA SCHAUMLOFFEL, a Notary

·8· ·Public for and within the State of New York,

·9· ·do hereby certify:

10· · · · · ·That the witness whose examination

11· ·is hereinbefore set forth was duly sworn and

12· ·that such examination is a true record of the

13· ·testimony given by that witness.

14· · · · · ·I further certify that I am not

15· ·related to any of the parties to this action

16· ·by blood or by marriage and that I am in no

17· ·way interested in the outcome of this matter.

18· · · · · ·IN WITNESS WHEREOF, I have hereunto

19· ·set my hand this 18th day of August, 2023.

20· · · · · ·__________________________

21· · · · · · REBECCA SCHAUMLOFFEL

22

23

24

25


     www.LexitasLegal.com/Premier           Lexitas             888-267-1200 Page 666
